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16    (Additional counsel listed on next page)

17
                                    UNITED STATES DISTRICT COURT
18                                 NORTHERN DISTRICT OF CALIFORNIA
                                          SAN JOSE DIVISION
19

20
       U.S. EQUAL EMPLOYMENT                           Case No.: 5:24-cv-06859-PCP
21
       OPPORTUNITY COMMISSION,
22
                      Plaintiff,                       (PROPOSED) SCHEDULING ORDER
23
              vs.
24
       LUSH HANDMADE COSMETICS LLC,
25
       f/k/a LUSH COSMETICS LLC,
26
                      Defendant.
27

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EEOC v. Lush Handmade Cosmetics LLC
(PROPOSED) SCHEDULING ORDER
                                                       1                        Case No.: 5:24-cv-06859-PCP
            Case 5:24-cv-06859-PCP    Document 24       Filed 12/27/24   Page 2 of 3



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EEOC v. Lush Handmade Cosmetics LLC
(PROPOSED) SCHEDULING ORDER
                                                    2                        Case No.: 5:24-cv-06859-PCP
          Case 5:24-cv-06859-PCP        Document 24         Filed 12/27/24    Page 3 of 3



 1                                            [PROPOSED] ORDER
 2           The Court, having reviewed the Parties’ Stipulation and finding good cause shown,
 3    GRANTS the Parties’ request to continuing the following deadlines:
 4
       Event                                                                  Deadline
 5     Deadline to exchange Initial Disclosures                               February 14, 2025
 6     Deadline to file Joint Case Management Statement                       February 18, 2025
       Initial Case Management Conference, 1 P.M. Ct. Rm. 8, 4th Floor        March 4, 2025
 7

 8           IT IS SO ORDERED.
 9

10    DATED: __________,
             December 27 2024                                  __________________________
11                                                             The Honorable P. Casey Pitts
                                                               Judge of the United States District Court
12                                                             for the Northern District of California
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EEOC v. Lush Handmade Cosmetics LLC
(PROPOSED) SCHEDULING ORDER
                                                        3                          Case No.: 5:24-cv-06859-PCP
